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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,
                                              CR 07-124-BLG-SPW
              Plaintiff,

        vs.
                                              FINAL ORDER IN
 FRANK MIRANDA,                               GARNISHMENT

              Defendant,

 FRANZ BAKERY,

              Garnishee.


      A writ of garnishment, directed to garnishee, has been duly issued and

served upon the garnishee. Pursuant to the writ of garnishment, the garnishee

filed an answer on or about February 17, 2017, stating that at the time of the

service of the writ, garnishee had in garnishee's possession, custody or control

personal property belonging to and due defendant, that defendant is employed by

the garnishee and earns regular wages from the garnishee.

      On February 3, 2017, the defendant was notified of his right to a hearing and

has not requested a hearing to determine exempt property.


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      On March 22, 2017, Plaintiff filed a request for entry of final order in

garnishment. No responsive pleading has been filed.

      IT IS THEREFORE ORDERED garnishee shall pay to plaintiff the lesser of

a) 25% of defendant's disposable earnings orb) the amount by which defendant's

disposable earnings exceed 30 times the federal minimum hourly wage.

"Disposable earnings" are those earnings remaining after deductions of any amount

required by law to be withheld, such as social security and withholding taxes.

These payments shall be made at the same time the employee is paid and shall

continue until the debt to the plaintiff is paid in full or the garnishee no longer has

custody, possession or control of any property belonging to the debtor or until

further order of this Court. Payments shall be sent to: Clerk of Court, 2601

Second Avenue North, Suite 1200, Billings, Montana 59101.

      IT IS FURTHER ORDERED that any amounts which the garnishee may be

holding pursuant to the writ of garnishment shall immediately be turned over to the

United States Attorney at the above address.

      DATED this __dd_ day ofMarch, 2017.



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                                                SlJSANP:WATTERS
                                                United States District Court Judge




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